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UNITED STATES DISTRICT COURT NOTH Bis STE FOAL
NORTHERN DISTRICT OF CALIFORNIA
Division [check one]: [¥San Francisco Oakland 0) San Jose 0) Eureka ay) {7

Sumone 4 Wedclwsar? CaseNumber Z%°2(-C\ -0S 7B /
Yao ( S 7 ZcaclaAS§ CEC [ First, Second, etc.]
Plaintiff,

 

vs. AMENDED COMPLAINT
She le a CA (CeducdCy
Sar [lame la ‘Sed
Vowmense, UAVesi Ly cf DEMAND FOR JURY TRIAL
CH, Wd Cue Yes O No
Defendant.

—

 

 

PARTIES
1. Plaintiff. [Write your name, address, and phone number. Add a page for additional
plaintiffs.]

Name: Pruner LS \2 Et rt AN L C C Sumanye | | ( |-| ute lh We SCLy
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2. Defendants. [Write each defendant's full name, address, and phone number.)

 

 

 

Defendant 1:

Name: Ske ite CG { Ca) Cel {\ \C\

Address: (500 "1S s\ree+, camels Ch F SOIC
Telephone: 41G- tly SF SSE

Defendant 2:

Name: City cf Ledweed City

Address: = 14100 jAwadwary S\ (Cclupol Cty, CA e065
Telephone: £50 - 780 — 74H

Defendant 3: .

Name: Crt? of Sal amc)

Address: “060 (Sell meet Canyon [2 A San VLamen, CA qUSSS
Telephone: 473 ~4735- 23SCO

JURISDICTION

[Usually only two types of cases can be filed in federal court, cases involving ‘federal questions”
and cases involving “diversity of citizenship.” Check at least one box.]

3. My case belongs in federal court
Ender federal question jurisdiction because it is involves a federal law or right.
[Which federal law or right is involved? \ ~ / Imm CC \. \ S ie Aww) é nd -
“Tock Clams He Chi Code QW % Pak S seebenl708
[1] under diversity jurisdiction because none of the plaintiffs live in the same state as any of the
defendants and the amount of damages is more than $75,000.

VENUE

[The counties in this District are: Alameda, Contra Costa, Del Norte, Humboldt, Lake, Marin,
Mendocino, Monterey, Napa, San Benito, Santa Clara, Santa Cruz, San Francisco, San Mateo, or
Sonoma. If one of the venue options below applies to your case, this District Court is the correct
place to file your lawsuit. Check the box for each venue option that applies. |
4, Venue-is appropriate in this Court because:
nnn part of the events I am suing about happened in this district.

a substantial part of the property I am suing about is located in this district.

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C) Iam suing the U.S. government, federal agency, or federal official in his or her
official capacity and I live in this district.
Era least one defendant ix located in this District and any other defendants are

located in California.

INTRADISTRICT ASSIGNMENT

[This District has three divisions: (1) San Francisco/Oakland (2) San Jose; and (3) Eureka. First
write in the county in which the events you are suing about happened, and then match it to the
correct division. The San Francisco/Oakland division covers Alameda, Contra Costa, Marin, Napa,
San Francisco, San Mateo, and Sonoma counties. The San Jose division covers Monterey, San
Benito, Santa Clara, Santa Cruz counties. The Eureka division covers Del Norte, Humboldt, Lake,
Mendocino counties, only if all parties consent to a magistrate judge. |

 

 

vlory /
3: Because this lawsuit arose in Conta. C cst County, it should be
assigned to the Sc.\ FlanciS Co / gakland Division of this Court.
STATEMENT OF FACTS

[Write a short and simple description of the facts of your case. Include basic details such as wher
the events happened, when things happened and who was involved. Put each fact into a separate,
numbered paragraph, starting with paragraph number 6. Use more pages as needed. |

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CLAIMS
First Claim
(Name the law or right violatea: 0°” [\wmendmen K
(Name the defendants who violated it: {i é3 woud C! +Y (2 (\ (7 Z Cv

[Explain briefly here what the law is, what each defendant did to violate it, and how you were

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harmed. You do not need to make legal arguments. You can refer back to your statement of facts.]
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Claim

(Name the law or right violated: \71 /wmeridwe +
(Name the defendants who violated it: Sa ¥) IZ CQAIYON 7) [7 4 UCS C
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DEMAND FOR RELIEF

[State what you want the Court to do. Depending on your claims, you may ask the Court to awar
you money or order the defendant to do something or stop doing something. If you are asking for
money, you can say how much you are asking for and why you should get that amount, or describ
the different kinds of harm caused by the defendant.|

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DEMAND FOR JURY TRIAL
[Check this box if you want your case to be decided by a jury, instead of a judge, if allowed.|

(J Plaintiff demands a jury trial on all issues.

Respectfully submitted,

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